           Case 1:23-cv-00615-JLT-SKO Document 33 Filed 06/14/24 Page 1 of 5


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14                             UNITED STATES DISTRICT COURT
15                            EASTERN DISTRICT OF CALIFORNIA
16

17    JOSE ZEPEDA ALCARAZ, an                       Case No. 1:23-CV-00615-JLT-SKO
      individual; MARIBEL ALCALA DE
18    PEREZ, an individual,                         STIPULATION AND ORDER TO
                                                    MODIFY SCHEDULING ORDER
19                               Plaintiffs,
                                                    (Doc. 32)
20               v.
                                                    Assigned to: Hon. Jennifer L. Thurston
21    MARTEN TRANSPORT LTD, a                       Magistrate Judge: Hon. Sheila K. Oberto
      corporation; JERRY WAYNE DUDLEY
22    JR, an individual; and DOES 1 to 25           Complaint Filed: March 9, 2023
      inclusive,                                    Trial: March 4, 2025
23
                                 Defendants.
24

25          Pursuant to Rules 6(b) and 29(b) of the Federal Rules of Civil Procedure and
26   Pursuant to Local Rule 143 Plaintiffs JOSE ZEPEDA ALCARAZ and MARIBEL
27   ALCALA DE PEREZ (“Plaintiffs”) and Defendants MARTEN TRANSPORT LTD and
28
                                                1
30                    STIPULATION AND ORDER TO MODIFY SCHEDULING ORDER
31   274456357
            Case 1:23-cv-00615-JLT-SKO Document 33 Filed 06/14/24 Page 2 of 5


 1   JERRY WAYNE DUDLEY JR (“Defendants”) (collectively the “Parties”) hereby
 2   respectfully stipulate and request the Court amend the Scheduling Order (ECF No. 29)
 3   for good cause, and in support thereof would respectfully show the Court as follows:
 4           On August 17, 2023, a Scheduling Conference was held; the Court set the
 5   following deadlines pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule
 6   240:
 7                 Non Expert Discovery: June 14, 2024
 8                 Expert Disclosures: August 1, 2024
 9                 Rebuttal Expert Disclosures: August 29, 2024
10                 Expert Discovery: September 27, 2024
11           These deadlines were amended on May 9, 2024 via Stipulation and Order as
12   follows:
13                 Non Expert Discovery: August 16, 2024
14                 Expert Disclosures: September 26, 2024
15                 Rebuttal Expert Disclosures: October 24, 2024
16                 Expert Discovery: November 22, 2024
17           Plaintiffs now request a further amendment to the discovery cutoff dates as
18   follows:
19                 Non Expert Discovery: September 16, 2024
20                 Expert Disclosures: October 16, 2024
21                 Rebuttal Expert Disclosures: November 14, 2024
22                 Expert Discovery: December 12, 2024
23           Good cause exists to grant this joint stipulation and the Parties request this reset
24   and amendment to the Scheduling Order for the following reasons:
25           The parties have been diligently conducting written discovery, and are in the
26   process of scheduling the necessary fact depositions as soon as practicable. Plaintiffs
27   are waiting on key evidence in the form of police and ambulance records, photographs,
28   and videos, which have been subpoenaed from the relevant agencies, and which
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                 STIPULATION AND ORDER TO MODIFY SCHEDULING ORDER
31   274456357
           Case 1:23-cv-00615-JLT-SKO Document 33 Filed 06/14/24 Page 3 of 5


 1   Plaintiffs require before deposing Defendant Dudley and Defendant Marten’s Person
 2   Most Qualified.
 3          The depositions of police officers at the scene of the Incident, Officers Aldrete
 4   and Diaz, have been noticed for July 19, 2024. Depositions of Plaintiffs Jose Zepeda
 5   Alcaraz and Maribel Alcala de Perez are scheduled for July 29 and 30, 2024, and Plaintiff
 6   plans to take the depositions of Defendant Dudley and Defendant Marten’s PMQ as soon
 7   as possible thereafter. Plaintiffs have also been trying to locate and subpoena accident
 8   eyewitness Kenny Gerard, who was named in the Traffic Collision Report, but have not
 9   yet located him.
10          In addition, Plaintiffs have retained an accident reconstruction expert to conduct
11   an inspection of Defendant’s vehicle at issue in the case. Plaintiffs hope to arrange that
12   inspection to take place in early August.
13          Further, Plaintiffs are unable to conduct these depositions during June or early
14   July, because Plaintiffs’ counsels of record are each going to be out of town and
15   unavailable between Sunday, June 16 and Thursday, July 11 (and, in the case of day-to-
16   day handling attorney Jennifer Bagosy, out of the country during those dates). For each
17   attorney, these travels have been paid for and planned for many months. Plaintiffs’ and
18   Defendants’ counsels are working together to set firm dates for all outstanding
19   depositions before mid-August; however, it is unlikely that all fact discovery can be
20   completed by August 16, 2024.
21          The additional brief continuance may aid the facilitation of settlement, it will not
22   cause any prejudice to the Parties or any third-party, and it is not requested for any
23   improper purpose.
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                 STIPULATION AND ORDER TO MODIFY SCHEDULING ORDER
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           Case 1:23-cv-00615-JLT-SKO Document 33 Filed 06/14/24 Page 4 of 5


 1    Dated: 6/7/2024                       CLARK HILL LLP
 2

 3                                          By: /s/
                                                 Bradford G. Hughes
 4                                               Seta Sarabekian
                                            Attorneys for Defendants MARTEN
 5                                          TRANSPORTS LTD and JERRY WAYNE
                                            DUDLEY JR.
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                 STIPULATION AND ORDER TO MODIFY SCHEDULING ORDER
31   274456357
           Case 1:23-cv-00615-JLT-SKO Document 33 Filed 06/14/24 Page 5 of 5


 1
     Dated: 6/7/2024                                        BD&J, PC
 2

 3

 4                                                   By:   /s/ Jennifer Bagosy
                                                           Olivier Taillieu
 5                                                         Jennifer Bagosy
                                                     Attorneys for Plaintiffs JOSE ZEPEDA
 6                                                   ALCARAZ and MARIBEL ALCALA DE
                                                     PEREZ
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 8
                                                           ORDER
 9
              Pursuant to the parties’ foregoing stipulation (Doc. 32), and for good cause shown (see Fed. R.
10
     Civ. P. 16(b)(4)), the case schedule (Doc. 31) is MODIFIED as follows:
11

12
                                     Previous Deadline                                 New Deadline
13
              Non-Expert           August 16, 2024                                September 16, 2024
14            Discovery
              Expert Disclosures   September 26, 2024                             October 16, 2024
15
              Rebuttal Expert      October 24, 2024                               November 14, 2024
16            Disclosures
17            Expert Discovery     November 22, 2024                              December 12, 2024
              Non-Dispositive      Filing: December 6,                            Filing: December 13,
18            Motion               2024                                           2024
19            Deadline             Hearing: January 15,                           Hearing: January 22,
                                   2025                                           2025
20
              All other dates in the case schedule (Doc. 31) REMAIN AS SET.
21

22   IT IS SO ORDERED.

23   Dated:      June 14, 2024                                   /s/ Sheila K. Oberto                .
                                                           UNITED STATES MAGISTRATE JUDGE
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                  STIPULATION AND ORDER MODYFING SCHEDULING ORDER
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